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Supplemental Photographs:

Figure 22: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 23: Supplemental photograph of Grace McGuire's Electra Model 10.

Figure 24: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 26: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 28: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 30: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 32: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 33: Supplemental photograph of Grace McGuire's Electra Model 10.

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Figure 34: Supplemental photo of a crashed Lockheed Electra aircraft in Idaho. Photograph from
http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/69_BevingtonObjectUpdate/69_BevingtonObjectUpdate.ht
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Figure 35: Supplemental photo of a crashed Lockheed Electra aircraft in Idaho. Photograph from
http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/69_BevingtonObjectUpdate/69_BevingtonObjectUpdate.ht
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Figure 36: Supplemental photo of a crashed Lockheed Electra aircraft in Idaho. Photograph from
http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/69_BevingtonObjectUpdate/69_BevingtonObjectUpdate.ht
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Figure 37: Supplemental photo of a crashed Lockheed Electra aircraft in Idaho. Photograph from
http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/69_BevingtonObjectUpdate/69_BevingtonObjectUpdate.ht
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Figure 38: Supplemental photo of a crashed Lockheed Electra aircraft in Idaho. Photograph from
http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/69_BevingtonObjectUpdate/69_BevingtonObjectUpdate.ht

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' http://tighar.org/Projects/Earhart/Archives/Research/Bulletins/63_DebrisField/63_DebrisField.htm,

TIGHAR, Earhart Project Research Bulletin, August 26, 2012
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